Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 1 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 2 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 3 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 4 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 5 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 6 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 7 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 8 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 9 of 11
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 10 of 11




    10/14/20
Case 1:20-cv-04426-PAE-KHP Document 16 Filed 10/15/20 Page 11 of 11
